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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION

ACUITY, A MUTUAL INSURANCE     )
COMPANY,                       )
                               )
      Plaintiff,               )
                               )             Case No. 4:24-cv-01277-MTS
v.                             )
                               )
LORA PROPERTY INVESTMENTS, )
LLC, et al.,                   )
                               )
      Defendants.              )
                               )
                               )
WOMBAT ACQUISTIONS, LLC        )
                               )
      Counter-Claim Plaintiff, )
                               )
v.                             )
                               )             JURY TRIAL DEMANDED
ACUITY, A MUTUAL INSURANCE )
COMPANY,                       )
                               )
      Counter-Claim Defendant. )
                               )


                  ANSWER OF WOMBAT ACQUISITIONS

                       Parties, Jurisdiction, & Venue

  1. Defendant states that it lacks knowledge or information sufficient to form a

     belief as to the truth of the averments contained in Paragraph 1 of the

     Complaint, and therefore denies the same.

  2. Defendant states that it lacks knowledge or information sufficient to form a

     belief as to the truth of the averments contained in Paragraph 2 of the

     Amended Complaint, and therefore denies the same.

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 3. Defendant states that it lacks knowledge or information sufficient to form a

    belief as to the truth of the averments contained in Paragraph 3 of the

    Amended Complaint, and therefore denies the same.

 4. Defendant states that it lacks knowledge or information sufficient to form a

    belief as to the truth of the averments contained in Paragraph 4 of the

    Amended Complaint, and therefore denies the same.

 5. Wombat Acquisitions admits the averments contained in paragraph 5 of the

    complaint.

 6. Wombat Acquisitions is a limited liability company organized under the laws

    of Delaware and with principle place of business in Raleigh, North Carolina.

 7. Wombat Acquisitions admits the averments contained in paragraph 7 of the

    complaint.

 8. Wombat Acquisitions admits the averments contained in paragraph 8 of the

    complaint insofar as they pertain only to Plaintiff Acuity’s claim for relief

    pursuant to 28 U.S.C. § 2201(a). Defendant Wombat Acquisitions specifically

    denies that diversity jurisdiction exists over Defendant Wombat Acquisitions

    counterclaim for vexatious refusal to pay pursuant to Mo. Rev. Stat. §

    375.420.

 9. Wombat Acquisitions denies the averment contained in Paragraph 9 of the

    Amended Complaint. 28 U.S.C. § 2201(a) does not create subject matter

    jurisdiction over Plaintiff Acuity’s claim for relief. 28 U.S.C. § 2201(a) is a

    procedural statute that allows the court to issue declaratory judgements



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    when other grounds for subject           matter jurisdiction exist. Wombat

    Acquisitions avers that the Court should not exercise subject matter

    jurisdiction over this action, because the exercise of such jurisdiction to

    effectively overturn decades of clearly established Missouri state law unduly

    interferes with state court prerogatives and principles of comity.

 10. Wombat Acquisitions admits the averments contained in paragraph 10 of

    the complaint.

 11. Wombat Acquisitions admits the averments contained in paragraph 11 of

    the complaint.

                          Facts Common to All Counts

 12. Wombat Acquisitions admits the averments contained in paragraph 11 of

    the complaint.

 13. Wombat Acquisitions admits the averments contained in paragraph 13 of

    the complaint.

 14. Wombat Acquisitions admits the averments contained in paragraph 14 of

    the complaint.

 15. Wombat Acquisitions admits the averments contained in paragraph 15 of

    the complaint.

 16. Wombat Acquisitions admits the averments contained in paragraph 16 of

    the complaint.

 17. Wombat Acquisitions admits the averments contained in paragraph 17 of

    the complaint.



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 18. Wombat Acquisitions admits the averments contained in paragraph 18 of

    the complaint.

 19. Wombat Acquisitions denies the averments contained in paragraph 19 of the

    complaint.

 20. Wombat Acquisitions denies the averments contained in paragraph 20 of the

    complaint.

 21. Wombat Acquisitions admits the averments contained in paragraph 21 of

    the complaint.

 22. Wombat Acquisitions admits the averments contained in paragraph 22 of

    the complaint.

 23. Wombat Acquisitions admits the averments contained in paragraph 23 of

    the complaint.

 24. Wombat Acquisitions denies the averments contained in paragraph 24 of the

    complaint.

 25. Wombat Acquisitions admits the averments contained in paragraph 25 of

    the complaint.

 26. Wombat Acquisitions admits that a representative from Wombat contacted

    Acuity on June 15, 2024, and made demands for payment under the policy.

    Wombat Acquisitions denies any other averment contained within

    paragraph 26.




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 27. Wombat Acquisitions admits that it retained a contractor to perform the

    repairs. Wombat Acquisitions denies all other averments contained within

    paragraph 27.

 28. Wombat Acquisitions denies the averments contained in paragraph 28 of the

    complaint. Wombat Acquisitions demand was for $9,250,277.77 under the

    appraisal, and included an additional amount for the installation of a

    temporary roof that would facilitate limited use of the facility while

    undertaking complete repairs.

                    COUNT I: DECLARATORY JUDGEMENT

 29. Defendant Wombat Acquisitions incorporates by reference their above

    responses to paragraphs 1 through 28 of the Complaint as if fully set forth

    herein.

 30. Defendant states that the averments contained in Paragraph 30 of the

    Complaint consist only of legal conclusions to which no response is required.

    To the extent a response is required, Defendant denies the same.

 31. Defendant states that the averments contained in Paragraph 30 of the

    Complaint consist only of legal conclusions to which no response is required.

    To the extent a response is required, Defendant denies the same.

 32. Defendant states that the averments contained in Paragraph 30 of the

    Complaint consist only of legal conclusions to which no response is required.

    To the extent a response is required, Defendant denies the same.

                           AFFIRMATIVE DEFENSES



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      COMES NOW Defendant Wombat Acquisitions, LLC (“Wombat”) and for it’s

affirmative defenses to Plaintiff Acuity, A Mutual Insurance Company’s (“Acuity”)

Amended Complaint, states and alleges as follows:

   33. Defendant Wombat incorporates by reference their answers and replies to

      Plaintiff Acuity’s Amended Complaint as if set forth fully herein.

   34. At all times relevant to the case, Defendant Wombat and Co-Defendants Lora

      Property Investments LLC and Riverdale Packaging Company LLC acted in

      full and complete compliance with all applicable terms and conditions for

      making a claim under the policy at issue.

   35. Plaintiff Acuity’s Amended Complaint fails to state a claim upon which relief

      can be granted pursuant to Rule 12(b)(6) in that the requested declaration

      beneficial to Plaintiff Acuity is barred by clearly established Missouri law

      concerning post-loss assignments of benefits and does not fit within any

      exception to that general rule.

   36. Plaintiff Acuity’s request for declaratory relief is barred by the doctrine of

      unclean hands in that Plaintiff Acuity has acted vexatiously and without

      cause to deny Defendant Wombat’s claim in violation of Missouri law.

   37. Plaintiff Acuity’s request for declaratory relief is effectively an affirmative

      defense to Defendant Wombat’s counterclaim Complaint for vexatious refusal

      to pay, a Missouri state law cause of action, and therefore fails to state a

      claim upon which relief can be granted or in the alternative that the court

      should abstain from deciding.



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 38. Plaintiff Acuity’s request for declaratory relief is a request that the court

    overturn clearly established Missouri state law, and the Court should abstain

    from the exercise of subject matter jurisdiction notwithstanding the effect of

    Defendant Wombat’s counterclaim below.

 39. To the extent that Defendant Wombat can sustain a counterclaim against

    Plaintiff Acuity, the parties are non-diverse and the court is without subject

    matter jurisdiction for this matter.

 40. Plaintiff Acuity’s requested relief is barred by the doctrines of waiver and

    estoppel. Plaintiff Acuity had actual knowledge of the proposed sale well in

    advance of its occurrence and made no effort to prevent the sale, and

    Defendant Lora Investment and Defendant Wombat relied upon this

    representation to their detriment.

 41. Defendant Wombat acted at all times in due care, with the good faith and in

    the absence of malice or ill will.

 42. Defendant Wombat provides notice to the court that it intends to rely upon

    the statutory protections applicable to first party claimants described at Mo.

    Rev. Stat. § 375.420 and Mo. Rev. Stat. §§ 375.1000 – 375.1018.

 43. Plaintiff Acuity’s claims are frivolous, unreasonable and wholly without

    merit, justifying the award of attorney’s fees to Defendant Wombat

    Acquisitions.

 44. Defendant Wombat Acquisitions denies each and every averment of Plaintiff

    Acuity’s Amended Complaint not specifically admitted in its Answer.



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      WHEREFORE, having fully answered Plaintiff’s Amended Complaint,

Defendant Wombat moves this Honorable Court for its Order of Dismissal with

Prejudice at Plaintiff’s cost, and for any further relief deemed just and reasonable

under the circumstances.

               COUNTER-CLAIM OF WOMBAT ACQUISTIONS, LLC

      COMES NOW, Defendant and Counter-Claim Plaintiff Wombat Acquisitions

LLC (“Wombat”), and for its Counter-Claim against Plaintiff and Counter-Claim

Defendant Acuity, A Mutual Insurance Company (“Acuity”) states and alleges as

follows:

                              Parties and Jurisdiction

   1. This Court has jurisdiction over this counterclaim solely because of 28 U.S.C.

      § 1367. Jurisdiction exists now only because Plaintiff and Counter Claim

      Defendants Acuity have asserted a claim pursuant to 28 U.S.C. § 2201(a)

      requesting declaratory relief.

   2. This action is a direct action against an insurance company within the

      meaning of 28 U.S.C. § 1332(c)(1), and to the extent Co-Defendant Lora

      Property Investments LLC has been joined as a necessary party, the parties

      are non-diverse.

   3. Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part of

      the acts or omissions to the transactions at issue occurred in St. Louis,

      Missouri.

                                            Facts



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 4. On or around September 20, 2023, William Nottke, as president and owner of

    Riverdale Packaging Corporation, was issued insurance policy ZS1914 by

    Counter Claim Defendant Acuity (the “Policy”). The Policy was active until

    August 22, 2024.

 5. Riverdale Packaging Co. owned the building located at 4501 Gustine Avenue,

    St. Louis, Missouri 63116 (“Covered Property”).

 6. The Policy provided for a declared coverage limit of $9,852,586 dollars for the

    Covered Property.

 7. The Policy provided that:

       A. COVERAGE
          We will pay for direct physical loss of or damage to
          Covered Property at the premises described in the
          Declarations caused by or resulting from any Covered
          Cause of Loss.

 8. On January 20, 2024, the Covered Property suffered catastrophic damage

    because of a roof collapse.

 9. On January 21, 2024, in full compliance with all requirements described in

    the Policy, William Nottke provided notice to Counter Claim Defendant

    Acuity Insurance Company of the damage caused by the roof collapse.

 10. Acuity Insurance Company accepted the claim, and proceeded to pay

    $1,050,974.97 towards the claim for limited repairs to address immediate

    safety concerns with the building as a result of the roof collapse, all issued to

    Co-Defendant Riverdale Packaging Company (“Riverdale”).




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  11. Acuity’s payments on the claim prior to the sale from Riverdale to Wombat

     were made for very limited repairs to the Covered Property. However, the

     contracted work prior to the sale would not remedy the dramatic structural

     problems with the building caused by the roof collapse in a manner suitable

     to allowing Wombat to rent the property to a tenant.

  12. In fact, the damage to the Gustine property was so extensive that it would

     require reconstruction of the roofing system and substantial repairs to

     structural components of the building.

  13. The gap between what Acuity would cover and what the building needed as a

     result of the roof collapse was part of the reason that William Nottke elected

     to sell the property to Wombat.

  14. On or around May 17, 2024, Riverdale (together with co-Defendant Lora

     Property Investments, LLC) entered into a sale contract regarding the

     Covered Property.

  15. As part of the deal, and in consideration of a payment and other covenants

     from Wombat, Riverdale Packaging transferred and sold the Covered

     Property to Wombat.

  16. In addition, Riverdale Packaging executed an assignment of benefits

     assigning to Wombat all of Riverdale’s right, title and interest to the

     Insurance Benefits applicable to the Covered Property.




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  17. Following the closure of the sale on or around June 11, 2024, Riverdale and

     Wombat provided notice to Counter-Claim Defendant Acuity of the post-loss

     assignment of benefits related to the Covered Property.

  18. On June 15, Wombat through their agent Michael Paul emailed Acuity’s

     adjuster Dave Jostes regarding the post-loss assignment of benefits, and

     requested that all payments and communications concerning the policy be

     directed to Wombat.

  19. Wombat’s June 15 email provided notice to Acuity that, in order to have the

     Covered Property properly repaired, Wombat would install a temporary roof

     over the property before allowing their a commercial contractor to proceed

     with a permanent repair.

  20. On June 20, Acuity provided notice that they would not provide any

     payments with, nor discuss the claim or any particulars of the repairs, with

     Wombat in virtue of the following policy provision:

           F. TRANSFER OF YOUR RIGHTS AND DUTIES
           UNDER THIS POLICY
           Your rights and duties under this policy may not be
           transferred without our written consent except in the case
           of death of an individual named insured.

           If you die, your rights and duties will be transferred to
           your legal representative, but only while acting within the
           scope of duties as your legal representative. Until your
           legal representative is appointed, anyone having proper
           temporary custody of your property will have your rights
           and duties but only with respect to that property.

  21. Counter-Claim   Plaintiff Wombat       provided   notice to Acuity    of the

     impossibility of enforcing the policy language to prevent a post-loss


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     assignment of benefits after the event on which liability under an insurance

     policy is predicated in light of the Missouri court of appeals decision in

     Bowden v. Am. Mod. Home Ins. Co., 658 S.W.3d 86 (Mo. Ct. App. 2022), reh'g

     and/or transfer denied (Nov. 17, 2022), transfer denied (Jan. 31, 2023),

  22. Nevertheless, Acuity persisted in their denial of the claim. In fact, Acuity

     even refused to appoint an independent appraiser panel for the damage to

     the property at issue, despite receiving signed notice for the same from

     William Nottke on behalf of Riverdale consistent with all Policy

     requirements.

  23. Acuity even attempted to reach out and negotiate directly with William

     Nottke, after he had executed the assignment of benefits and with the

     intention of forcing him to resolve the claim for substantially less than it was

     worth.

  24. Plaintiff Wombat sent their final estimate of damages to the property to

     Acuity on or around August 3, 2024. The demanded amount corresponded

     the actual cash value for the Covered Property pursuant to the terms of the

     Policy, and totaled $9,250,277.77.

  25. To date, Acuity has provided payments totaling $1,050,974.97 on the claim,

     an amount substantially less than that required under the terms of the

     policy.




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  26. Acuity acted at all times during the claims handling at issue with actual

     knowledge that the post-loss assignment of benefits at issue was enforceable

     in spite of policy language purporting to be contrary.

  27. Acuity acted with malice toward Counter Claim Plaintiff Wombat, which

     purchased the right to the claim under a lawful transaction for the mutual

     benefit of itself and Co-Defendant William Nottke.

                    COUNT 1: VEXATIOUS REFUSAL TO PAY

            COMES NOW Counter-Claim Plaintiff Wombat Acquisitions LLC,

     and for its claim of vexatious refusal to pay, states and alleges as follows:

  28. Plaintiff Wombat incorporates by reference the preceding 23 paragraphs of

     its Counterclaim Complaint.

  29. On June 12, 2024, following the closing of the sale of the Covered Property

     from Riverdale to Wombat, Wombat held all rights and benefits under the

     Policy issued by Counterclaim Defendant Acuity.

  30. On that day, Wombat assumed and Riverdale relinquished to Wombat all

     rights and duties under the policy at issue, including the right to bring suit

     pursuant to Mo. Rev. Stat. § 375.420 and the protections afforded all

     Missouri citizens against unfair claims practices described at Mo. Rev. Stat.

     §§ 375.1000 – 375.1018 and associated implementing regulations.

  31. Mo. Rev. Stat. § 375.1007(4), (5), (7), (12) and (15) provide that the following

     are improper claims practices:




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        a. (4):   Not attempting in good faith to effectuate prompt, fair and

           equitable settlement of claims submitted in which liability has become

           reasonably clear;

        b. (5):   Compelling insureds or beneficiaries to institute suits to

           recover amounts due under its policies by offering substantially less

           than the amounts ultimately recovered in suits brought by them;

        c. (7):   Failing to affirm or deny coverage of claims within a reasonable

           time after proof of loss statements have been completed and

           communicated to the insurer;

        d. (12): Failing in the case of claims denial or offers of a compromise

           settlement to promptly provide a reasonable and accurate explanation

           of the basis for such actions;

        e. (15): Failing to promptly settle claims where liability has become

           reasonably clear under one portion of the insurance policy coverage in

           order to influence settlements under other portions of the insurance

           policy coverage.

  32. Defendant Acuity engaged in unfair claims settlement practices by:

        a. (4):   Knowingly      relying    upon    an   incorrect   interpretation   of

           applicable Missouri law to deny payment for covered losses to

           Wombat;

        b. (5):   Offering $8,199,302.80 less than the actual value of the claim;




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        c. (7):   Failing to affirm coverage of claims following Riverdale’s post-

           loss assignment to Wombat;

        d. (12): Failing to offer a compromise settlement supported by an

           independent appraiser panel, despite being request to do so both by

           Riverdale and Wombat;

        e. (15): Failing to effect settlement of the claims at issue by making

           lowball offers, and in addition, by forcing Wombat to litigate their

           state law claim for vexatious refusal in federal court by styling an

           affirmative defense as an ask for declaratory relief.

  33. All of the above improper claims practices, make plain that Acuity has

     violated Mo. Rev. Stat. § 375.420 by forcing Acuity to file suit to recover the

     $8,199,302.80 still outstanding on the claim.

  34. Acuity has acted vexatiously in their refusal to pay on the claim in at least

     the following ways:

        a. Refusing to honor valid claims for covered losses caused by the roof

           collapse submitted by Wombat without reviewing the supporting

           documentation;

        b. Falsely representing that Wombat could not purchase the post-loss

           assignment of benefits from Riverdale, in spite of the plain

           authorization to do so under pertinent Missouri law;

        c. Conversely, falsely representing to Co-Defendant Riverdale that it

           could not sell the dilapidated and wholly unusable building and



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             associated insurance claim at issue to Counter-Claim Plaintiff

             Wombat in spite of the precarious financial position Riverdale was put

             in by Acuity’s deliberate undervaluation of the covered loss;

         d. Willfully refusing to appoint an independent appraiser panel to assess

             the value of the claim despite being requested by Wombat and

             separately by Riverdale;

         e. Refusing to communicate directly with Wombat regarding the claim,

             including by directly reaching out to Riverdale and deliberately

             misrepresenting applicable Missouri law for assignments of benefits;

             and,

         f. Such further acts as may be revealed during the course of discovery.

   35. As a result of the forgoing willful, intentional and vexatious acts of

      Counterclaim    Acuity,   Counterclaim     Plaintiff    Wombat   has   suffered

      significant loss. Plaintiff Wombat has been unable to rent the property at

      issue, and even to get it repaired to a suitable condition. Wombat has

      incurred attorney’s fees and costs in defense in prosecution of their

      counterclaim.

      WHEREFORE, Counterclaim Plaintiff Wombat Acquisitions LLC humbly

prays this Honorable Court enter judgement in its favor, for its costs and attorney’s

fees associated with the prosecution of their Counterclaim, and for penalty

damages to be assessed against Counterclaim Defendant Acuity, A Mutual




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Insurance Company pursuant to Mo. Rev. Stat. § 375.420, and for such further

relief as may be just and proper under the premises.

                                              Respectfully Submitted,

                                              OTT LAW FIRM

                                                    /s/ Joseph A. Ott
                                              Joseph A. Ott, #67889
                                              3544 Oxford Blvd
                                              Maplewood, MO 63143
                                              Telephone: (314) 293-3756
                                              Facsimile: (314) 689-0080
                                              joe@ott.law
                                              Attorney for Defendant




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